Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF MICHIGAN

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                University Physician Group

2.   All other names debtor       DBA     Wayne State University Physician Group
     used in the last 8 years     DBA     Kresge Eye Institute
     Include any assumed          DBA     Michigan Facial Aesthetic Surgeons
     names, trade names and       DBA     UPG
     doing business as names      DBA     WSUPG

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1560 Maple Road
                                  Troy, MI 48083
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Oakland                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       http://www.wsupgdocs.org/


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)

                                      Other. Specify:    Not for Profit




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Debtor    University Physician Group                                                                   Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known




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Debtor   University Physician Group                                                                Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999


15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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                                                                                                                                 Page 3 of 41              page 3
Debtor    University Physician Group                                                               Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      November 7, 2018
                                                  MM / DD / YYYY

                                 /s/ University Physician Group, by Charles J.                            University Physician Group, by Charles J.
                             X   Shanley, M.D., CEO                                                       Shanley, M.D., CEO
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Executive Officer




18. Signature of attorney    X   /s/ Mark H. Shapiro                                                       Date November 7, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Mark H. Shapiro P43134
                                 Printed name

                                 Steinberg Shapiro & Clark
                                 Firm name

                                 25925 Telegraph Rd.
                                 Suite 203
                                 Southfield, MI 48033-2518
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     248-352-4700                  Email address      shapiro@steinbergshapiro.com

                                 P43134 MI
                                 Bar number and State




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                                                                                                                               Page 4 of 41               page 4
                                                               United States Bankruptcy Court
                                                                     Eastern District of Michigan
 In re      University Physician Group                                                                                Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder

 -NONE-



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

         I, the Chief Executive Officer of the Not for Profit named as the debtor in this case, declare under penalty of perjury
that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information
and belief.



 Date November 7, 2018                                                       Signature /s/ University Physician Group, by Charles J. Shanley,
                                                                                            M.D., CEO
                                                                                            University Physician Group, by Charles J. Shanley, M.D.,
                                                                                            CEO

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



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i
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o
A
s
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                       1455 South Lapeer Road Holdings LLC
                       31550 Northwestern Highway
                       Suite 220
                       Farmington, MI 48334


                       3M Health Information Systems
                       Dept. 0881
                       PO Box 120881
                       Dallas, TX 75312-0881


                       AAO-HNS
                       PO Box 79463
                       Baltimore, MD 21279-0463


                       ABB Optical Group
                       PO Box 504546
                       Saint Louis, MO 63150-0001


                       ABC Coffee Service Corp.
                       24691 Telegraph Road
                       Southfield, MI 48034


                       Abdulghani Sankari, M.D.
                       c/o Cullen Bryant McKinney
                       Tanoury Nauts McKinney & Garbarino PLLC
                       38777 6 Mile Rd., Ste 101
                       Livonia, MI 48152


                       Absopure Water Co.
                       PO Box 701760
                       Plymouth, MI 48170-0970


                       Academy of Surgery of Detroit
                       3031 W. Grand Blvd., Ste 645
                       Detroit, MI 48202


                       ACGME
                       29376 Network Place
                       Chicago, IL 60673-1293


                       ACSPA
                       Dept. 8021
                       PO Box 87618
                       Chicago, IL 60680



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                   Adam Zahr, M.D.
                   c/o Jennifer Wright Greenman
                   Kitch Attorneys & Counselors
                   1 Woodward Ave., Ste 2400
                   Detroit, MI 48226


                   ADP, Inc.
                   PO Box 842875
                   Boston, MA 02284-2875


                   Advanced Medical Technologies
                   1047 South Highland
                   Dearborn, MI 48124-1666


                   Akorn, Inc.
                   Lockbox #3950
                   3950 Payshere Circle
                   Chicago, IL 60674


                   William Allen
                   c/o Shawndrica Simmons, Esq.
                   77 Bagley St.
                   Pontiac, MI 48341


                   Ali Almaweri
                   c/o Jeffrey T. Stewart, Esq.
                   Seikaly Stewart and Bennett PC
                   30445 Northwestern Hwy., Ste 250
                   Farmington, MI 48334


                   Altair
                   PO Box 45036
                   San Francisco, CA 94145-0036


                   Alvan Ribiat
                   c/o Brian H. Herschfus
                   Wood Kull Herschfus Obee & Kull PC
                   37000 Grand River Ave., Ste 290
                   Farmington, MI 48335


                   Yasmeen Alwageh



                   Alyko Enterprises, LLC
                   2801 Manorwood Drive
                   Troy, MI 48085

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                   Amcon
                   9735 Green Park Industrial Drive
                   Saint Louis, MO 63123


                   American Academy of Ophthalmology
                   Dept 34037
                   PO Box 39000
                   San Francisco, CA 94139


                   American Medical Association
                   PO Box 4198
                   Carol Stream, IL 60197-9788


                   American Messaging LLC
                   PO Box 5749
                   Carol Stream, IL 60197-5749


                   AmerisourceBergen
                   PO Box 978740
                   Dallas, TX 75397-8740


                   Anago of Metro Detroit
                   6960 Orchard Lake Blvd.
                   Suite 231
                   West Bloomfield, MI 48322


                   Robert Anderson
                   c/o Joseph L. Konheim, Esq.
                   Law Offices of Blum & Associates
                   15815 W. 12 Mile Rd.
                   Southfield, MI 48076


                   Anesthesia Bus Consultants LLC
                   Department #77181
                   PO Box 77000
                   Detroit, MI 48277-0181


                   Anesthesia Business Consultants, LLC
                   255 W. Michigan Ave.
                   Jackson, MI 49201


                   Aramark
                   McGregor Memorial Conf Center
                   495 W. Ferry Mall
                   Detroit, MI 48202


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                   Aramark Refreshment Services
                   13623 Otterson Ct.
                   Livonia, MI 48150


                   Art Optical
                   PO Box 1848
                   Grand Rapids, MI 49501-1848


                   Artistic Type
                   PO Box 219
                   Trenton, MI 48183


                   AS Software Inc.
                   560 Sylvan Ave.
                   Englewood Cliffs, NJ 07632


                   ASGE
                   PO Box 809055
                   Chicago, IL 60680-9055


                   ASI Signage Innovations
                   Sign Concepts Corp
                   1119 Wheaton Ave.
                   Troy, MI 48083


                   AT&T
                   PO Box 105068
                   Atlanta, GA 30348-5068


                   Avella
                   24416 N. 19th Avenue
                   Phoenix, AZ 85085


                   AVID Design Inc.
                   PO Box 776150
                   Chicago, IL 60677-7144


                   Savannah Baird



                   Bank of America
                   500 Griswold Ave., Suite 2600
                   Detroit, MI 48226



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                   Barbara Ann Karmanos Cancer Institute
                   4100 John R.
                   Detroit, MI 48201


                   BarFly Ventures LLC
                   HopCat Detroit LLC
                   35 Oakes SW #400
                   Grand Rapids, MI 49503


                   Besse Medical Supply
                   1576 Solutions Ctr
                   Chicago, IL 60677-1005


                   Bheemreddy Suchita
                   c/o Cullen Bryant McKinney
                   Tanoury Nauts McKinney & Garbarino PLLC
                   38777 6 Mile Rd., Ste 101
                   Livonia, MI 48152


                   Annitta Billings



                   Biofrontera Inc.
                   201 Edgewater Drive
                   Suite 210
                   Wakefield, MA 01880


                   BMC Lake Orion
                   214 S. Broadway
                   Ste. 300
                   Lake Orion, MI 48362


                   BMC Lake Orion, LLC
                   214 S. Broadway
                   Ste. 300
                   Lake Orion, MI 48362


                   Botsford General Hospital
                   c/o David R. Nauts
                   Tanoury Nauts McKinney & Garbarino PLLC
                   38777 6 Mile Rd., Ste 101
                   Livonia, MI 48152




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                   Bret A. Hughes, M.D.
                   c/o Maureen C. Adkins
                   Plunkett Cooney
                   38505 Woodward Ave, Ste 100
                   Bloomfield Hills, MI 48304


                   Brink's Inc.
                   7373 Solutions Center
                   Chicago, IL 60677-7003


                   Kenneth T. Brooks, Esq.
                   Honigman
                   222 N. Washington Square
                   Ste. 400
                   Lansing, MI 48933


                   Career Builder LLC
                   13047 Collection Center Drive
                   Chicago, IL 60693-0130


                   CarePaths, Inc.
                   PO Box 121
                   Scranton, KS 66537


                   Caroline Chevalier
                   c/o Jeffrey T. Meyers
                   Morgan & Meyers PLC
                   3200 Greenfield Rd., Ste 260
                   Dearborn, MI 48120


                   CDW Government, Inc.
                   75 Remittance Drive, Suite 1515
                   Chicago, IL 60675-1515


                   Charles P . Caputo
                   DMC Real Estate Services
                   CBRE Tenet Healthcare
                   4707 St. Antoine, Ste. C526
                   Detroit, MI 48201


                   Chemical Bank
                   PO Box 1527
                   Midland, MI 48641-1527




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                   Christina Coan MSN NP
                   c/o Jenna Wright Greenman
                   Kitch Attorneys & Counselors
                   One Woodward Ave., Ste 2400
                   Detroit, MI 48226


                   Ricky Clark
                   23336 N. Brookside Drive
                   Dearborn, MI 48128


                   Briana Cole
                   c/o Gerald E. Thurswell, Esq.
                   Thurswell Law Firm PLLC
                   1000 Town Ctr., Ste 500
                   Southfield, MI 48075


                   College Hill Apartments
                   510 College, NE
                   Grand Rapids, MI 49503


                   College Hill Apartments - Office
                   510 College Ave NE
                   Grand Rapids, MI 49503


                   Comcast
                   PO Box 7500
                   Southeastern, PA 19398-7500


                   Compass Technology Solutions, LLC
                   233 Church St.
                   Mount Clemens, MI 48043


                   Complete Capital Services, Inc.
                   22811 Mack Ave.
                   Suite 203
                   Saint Clair Shores, MI 48080


                   Continental Canteen
                   1578 Reliable Parkway
                   Chicago, IL 60686-0015


                   Cooper Surgical Inc.
                   PO Box 712280
                   Cincinnati, OH 45271-2280



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                   Coopervision
                   PO Box 145409
                   Cincinnati, OH 45250-5409


                   Corporate Screening Services, Inc.
                   16530 Commerce Court
                   Cleveland, OH 44130


                   Corrigan Moving Systems
                   23923 Research Drive
                   Farmington, MI 48335


                   Create My Tee LLC
                   4343 Concourse Dr.
                   Suite 200
                   Ann Arbor, MI 48108


                   Cuesta Inocencio
                   c/o David R. Nauts
                   Tanoury Nauts McKinney & Garbarino PLLC
                   38777 6 Mile Rd., Ste 101
                   Livonia, MI 48152


                   Myla Cunningham
                   c/o Jack Beam, Esq.
                   Beam Legal Team LLC
                   954 W Washington Blvd, Ste 215
                   Chicago, IL 60607-2224


                   David R. Bryant, Jr., MD
                   c/o Maureen Adkins, Esq.
                   Plunkett Cooney PC
                   38505 Woodward Ave., Ste 100
                   Bloomfield Hills, MI 48304-5096


                   Darryl Davis
                   c/o John C. Kaplansky, Esq.
                   Law Offices of John C. Kaplansky PC
                   30100 Telegraph Rd., Ste 360
                   Franklin, MI 48025


                   Logan Davis
                   c/o Barry F. Keller, Esq.
                   Keller & Avadenka PC
                   2242 S. Telegraph Rd., Ste 100
                   Bloomfield Hills, MI 48302


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                   Dawna Hoesli Powell, RPA, CCIM
                   American Healthcare Investors, Inc.
                   8902 North Meridien Street
                   Suite 220
                   Indianapolis, IN 46260


                   Deaf & Hearing Impaired Svc Inc.
                   25882 Orchard Lake Road, Ste #100
                   Farmington, MI 48336


                   DEAF C.A.N.
                   2111 Orchard Lake Road, Suite #101
                   Sylvan Lake, MI 48320


                   Dearborn Real Estate Development
                   26935 Northwestern Hwy.
                   BSC 3C Corp Accting, Dept #750000
                   Southfield, MI 48033


                   Dearborn Real Estate Development, LLC
                   28400 Northwestern Hwy. Ste. 400
                   Southfield, MI 48034


                   Dearborn Schaeffer Office Co., LLC
                   c/o Paul H Huth, Esq.
                   Huth Lynett
                   645 Griswold St., Ste. 4300
                   Detroit, MI 48226


                   Dearborn Schaffer Office LLC
                   One Towne Square
                   Suite 1600
                   Southfield, MI 48076


                   Debra's PTA's
                   3281 Coolidge
                   Berkley, MI 48072


                   Dell Marketing LP
                   c/o Dell USA LP
                   PO Box 643561
                   Pittsburgh, PA 15264-3561


                   Dermavance, Inc.
                   274 West Lancaster Ave., Ste 200
                   Malvern, PA 19355

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                   Detroit Medical Center Corp
                   Tenet Health
                   PO Box 845610
                   Dallas, TX 75284-5610


                   Detroit Receiving Hospital
                   4201 St. Antoine Blvd
                   Detroit, MI 48201


                   Detroit Surgical Association
                   3031 W. Grand Blvd., Ste 645
                   Detroit, MI 48202-5002


                   DiMeo Schneider
                   500 W. Madison St.
                   Ste. 1700
                   Chicago, IL 60601


                   DMC
                   Harper-Hutzel Hospital
                   4707 St. Antoine, C 526
                   Detroit, MI 48201


                   DMC Legal Affairs
                   4707 St. Antoine, Suite W514
                   Detroit, MI 48201


                   DMC Legal Affairs
                   4707 St. Antoine, Ste. W514
                   Detroit, MI 48201


                   DMC Real Estate
                   4707 St. Antoine
                   5th Floor
                   Detroit, MI 48201


                   Dr. L. Reynolds Associates, P.C.
                   c/o David M. Ottenwess
                   Ottenwess Taweel & Schenk PLC
                   535 Griswold St., Ste 850
                   Detroit, MI 48226


                   Dynamic Diagnostics Inc.
                   800 Junction Street
                   Plymouth, MI 48170


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                   E3 Diagnostics
                   3333 N. Kennicott Ave.
                   Arlington Heights, IL 60004


                   East
                   633 N. Saint Clair Ct.
                   Suite 2600
                   Chicago, IL 60611


                   Eastern Association for Surgery of Traum
                   Wake Forest School of Medicine
                   Medical Center Blvd.
                   Winston Salem, NC 27157-1028


                   Rolanda Elam



                   Ellex Inc.
                   Attn: Becki Lundquist
                   7138 Shady Oak Road
                   Eden Prairie, MN 55344-3517


                   Paul Ellis



                   Eri Gursel, MD
                   c/o Jenna Wright Greenman
                   Kitch Attorneys & Counselors
                   One Woodward Ave., Ste 2400
                   Detroit, MI 48226


                   Esmael Amjad, M.D.
                   c/o Jennifer Wright Greenman
                   Kitch Attorneys & Counselors
                   1 Woodward Ave., Ste 2400
                   Detroit, MI 48226


                   EverBank Commercial Finance, Inc.
                   10 Waterview Blvd.
                   Parsippany, NJ 07054


                   Excel Laboratory Inc.
                   4615 E. Industrial St. 1-I
                   Simi Valley, CA 93063



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                   Fahim K. Ibrahim, MD PC d/b/a
                   Port Huron Eye Care
                   4190 24th Avenue, Suite 204
                   Fort Gratiot, MI 48059


                   FedEx
                   PO Box 371461
                   Pittsburgh, PA 15250-7461


                   First Choice Services
                   1460 Combermere
                   Troy, MI 48083


                   Foley Medical Supply, Inc.
                   PO Box 416
                   Saginaw, MI 48606-0416


                   Fordson Cleaners
                   13075 Michigan Ave.
                   Dearborn, MI 48126


                   Frank Baciewicz, MD
                   c/o Randall Juip
                   Foley Baron Metzger & Juip PLLC
                   38777 Six Mile Rd., Ste 300
                   Livonia, MI 48152


                   Fund for Medical Research and Education
                   540 E. Canfield
                   Rm. 1241
                   Detroit, MI 48201


                   GAHC4 Southfield MI MOB, LLC
                   c/o American Healthcare Investors
                   18191 Von Karman Ave.
                   Suite 300
                   Irvine, CA 92612


                   GAHC4 Southfield MI MOB, LLC
                   150 W. Second Street, Suite 2000
                   Detroit, MI 48201




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                   GAHC4 Southfield MI MOB, LLC
                   c/o American Healthcare Investors, LLC
                   18191 Von Karman Ave.
                   Suite 300
                   Irvine, CA 92612


                   Gallagher Benefit Services, Inc.
                   PO Box 71696
                   Chicago, IL 60694-1696


                   Genzyme
                   62665 Collections Center Drive
                   Chicago, IL 60693-0626


                   Gipsa A. Joseph, M.D.
                   c/o Jennifer Wright Greenman
                   Kitch Attorneys & Counselors
                   1 Woodward Ave., Ste 2400
                   Detroit, MI 48226


                   Natalie Gramont



                   GreatAmerica Financial Svcs
                   PO Box 660831
                   Dallas, TX 75266-0831


                   Greenfield Medical Center of Dearborn PC
                   c/o Mohamad Khansa, M.D.
                   4953 Schaefer
                   Dearborn, MI 48126


                   Jada Gresham
                   c/o Brian J. McKeen, Esq.
                   McKeen and Associates PC
                   645 Griswold St., Ste 4200
                   Detroit, MI 48226


                   Hall, Render, Killian, Heath & Lyman PC
                   PO Box 714570
                   Cincinnati, OH 45271-4570




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                   Harper Hutzel Hospital
                   c/o Cullen Bryant McKinney
                   Tanoury Nauts McKinney & Garbarino PLLC
                   38777 6 Mile Rd., Ste 101
                   Livonia, MI 48152


                   Harper University Hospital
                   PO Box 845610
                   Dallas, TX 75284-5610


                   Harper-Hutzel Hospital
                   c/o Detroit Medical Center
                   Real Estate Services
                   4707 St. Antoine, C526
                   Detroit, MI 48201


                   Harper-Hutzel Hospital
                   3990 John R
                   Detroit, MI 48201-2403


                   Health eCareers
                   33292 Collection Center Dr.
                   Chicago, IL 60693-0332


                   Health Market Solutions, LLC
                   1932 Vinsetta Boulevard
                   Royal Oak, MI 48073


                   Healthcare Administrative Partners
                   c/o David Landau, Esq.
                   Duane Morris LLP
                   30 South 17th Street
                   Philadelphia, PA 19103-4196


                   HealthFirst
                   Dept CH 14330
                   Palatine, IL 60055-4330


                   Healthstream, Inc.
                   209 10th Ave.
                   South 450
                   Nashville, TN 37203


                   Highland Meadows



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                   Hilco
                   PO Box 643792
                   Pittsburgh, PA 15264-3792


                   Huron Valley - Sinai Hospital
                   PO Box 845610
                   Dallas, TX 75284


                   Hutzel Women's Hospital
                   PO Box 845610
                   Dallas, TX 75284-5610


                   Hutzel Women's Hospital
                   1445 Ross Ave., Suite 1400
                   Dallas, TX 75202


                   Hutzel Women's Hospital
                   c/o Jennifer Wright Greenman
                   Kitch Attorneys & Counselors
                   1 Woodward Ave., Ste 2400
                   Detroit, MI 48226


                   IDX/GE (Revenue billing platform)



                   InPro Corporation
                   580 WI8766 Apollo Dr.
                   Muskego, WI 53150


                   Iron Mountain
                   PO Box 27128
                   New York, NY 10087-7128


                   Irvine Scientific
                   1830 East Warner Ave.
                   Santa Ana, CA 92705


                   J.C. Ehrlich Co Inc.
                   dba Eradico Pest Services
                   41169 Vincenti Ct.
                   Novi, MI 48375




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                   Regina Jamerson
                   c/o Christopher J. Trainor, Esq.
                   Law Offices of Christopher J. Trainor
                   9750 Highland Rd.
                   White Lake, MI 48386


                   James E. Puklin, M.D.
                   c/o Cullen Bryant McKinney
                   Tanoury Nauts McKinney & Garbarino PLLC
                   38777 6 Mile Rd., Ste 101
                   Livonia, MI 48152


                   Jewish Vocational Service
                   29699 Southfield Rd.
                   Southfield, MI 48076-2063


                   Jewish Vocational Services
                   29699 Southfield Rd.
                   Southfield, MI 48076


                   Jimmy Belotte, MD
                   c/o Maureen Adkins, Esq.
                   Plunkett Cooney, PC
                   38505 Woodward Ave., Ste 100
                   Bloomfield Hills, MI 48304


                   Johnson & Johnson Vision Care
                   Vistakon Lockbox
                   5855 Collection Center Dr.
                   Chicago, IL 60693-0058


                   Karoline Puder, MD
                   c/o Maureen Adkins, Esq.
                   Plunkett Cooney PC
                   38505 Woodward Ave., Ste 100
                   Bloomfield Hills, MI 48304


                   KCC Medical Staff Fund
                   Barbara Ann Karmanos Cancer Ctr
                   4100 John R Mail Code GE00RO
                   Detroit, MI 48201


                   Keating Consulting
                   50169 Grant St.
                   Canton, MI 48188



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                   Kenmark Group
                   1800 Research Drive
                   Louisville, KY 40299


                   Dr. Mazhar Khan
                   4104 Golf Ridge Dr. E.
                   Bloomfield Hills, MI 48302


                   Kia Lannaman, M.D.
                   c/o Jennifer Wright Greenman
                   Kitch Attorneys & Counselors
                   1 Woodward Ave., Ste 2400
                   Detroit, MI 48226


                   Robert Kimble
                   c/o Keith D. Forman, Esq.
                   Wais, Vogelstein, Forman & Offutt, LLC
                   1829 Reisterstown Rd., #425
                   Pikesville, MD 21208


                   Robert Kimble
                   c/o Jesse M. Reiter, Esq.
                   Reiter & Walsh PC
                   122 Concord Rd.
                   Bloomfield Hills, MI 48304


                   Romaya Kimble
                   c/o Jesse M. Reiter, Esq.
                   Reiter & Walsh PC
                   122 Concord Rd.
                   Bloomfield Hills, MI 48304


                   Romaya Kimble
                   c/o Keith D. Forman, Esq.
                   Wais, Vogelstein, Forman & Offutt, LLC
                   1829 Reisterstown Rd., #425
                   Pikesville, MD 21208


                   Timothy Koltun, Esq
                   Clark Hill PLC
                   400 Woodward Ave
                   Ste. 3500
                   Detroit, MI 48226


                   Konica Minolta Business Solutions
                   Dept CH 19188
                   Palatine, IL 60055-9188

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                   David Koschnitzke



                   Kresge Eye Institute
                   c/o Cullen Bryant McKinney
                   Tanoury Nauts McKinney & Garbarino PLLC
                   38777 6 Mile Rd., Ste 101
                   Livonia, MI 48152


                   Laboratory Corporation of America
                   PO Box 12140
                   Burlington, NC 27216


                   Lantheus Medical Imaging
                   PO Box 101236
                   Atlanta, GA 30392-1236


                   Reba LaPointe
                   c/o Jeffrey T. Meyers, Esq.
                   Morgan & Meyers, PLC
                   3200 Greenfield Rd., Ste 260
                   Dearborn, MI 48120


                   Lark Laboratories Inc.
                   6421 Hamilton Dr. East
                   Holland, OH 43528


                   Laundry in the D, Inc.
                   16300 E. Warren
                   Detroit, MI 48224


                   Laveta Anderson
                   c/o Brian J. McKeen
                   McKeen & Associates
                   645 Griswold St., Ste 4200
                   Detroit, MI 48226


                   Mei'A Lee-Terry
                   c/o Gerald E. Thurswell, Esq.
                   Thurswell Law Firm PLLC
                   1000 Town Ctr., Ste 500
                   Southfield, MI 48075




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                   Legacy DMC
                   c/o Cullen Bryant McKinney
                   Tanoury Nauts McKinney & Garbarino PLLC
                   38777 6 Mile Rd., Ste 101
                   Livonia, MI 48152


                   Legacy HHH
                   c/o Cullen Bryant McKinney
                   Tanoury Nauts McKinney & Garbarino PLLC
                   38777 6 Mile Rd., Ste 101
                   Livonia, MI 48152


                   Legacy SHGD
                   c/o Jennifer Wright Greenman
                   Kitch Attorneys & Counselors
                   1 Woodward Ave., Ste 2400
                   Detroit, MI 48226


                   Leonard Bros. Data Management, Inc.
                   PO Box 867
                   Royal Oak, MI 48068-0867


                   LN2 Gas and Supply LLC
                   12620 Southfield
                   Detroit, MI 48223


                   LPA Software Solutions, LLC
                   PO Box 8000
                   Department 181
                   Buffalo, NY 14267


                   Luxottica USA
                   PO Box 100444
                   Atlanta, GA 30384


                   Macomb Duplicating Company
                   28721 Utica Road
                   Roseville, MI 48066


                   Mai Delivery Service
                   PO Box 33022
                   Detroit, MI 48232-5022




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                   Manasi Patwardhan, M.D.
                   c/o D. Jennifer Andreou
                   Plunkett Cooney
                   150 W. Jefferson Ave, Ste 800
                   Detroit, MI 48226


                   Marchon Eyewear, Inc.
                   88216 Expedite Way
                   Chicago, IL 60695-0001


                   MBM Computer System Solutions Inc.
                   375 Robbins Drive
                   Troy, MI 48083


                   McLaren Greater Lansing
                   401 West Greenlawn Avenue
                   Lansing, MI 48910


                   Medline Industries, Inc.
                   Box 382075
                   Pittsburgh, PA 15251-8075


                   Mednet Partners LLC
                   7404 Corlandt Place
                   Norfolk, VA 23505


                   Mehregan R E Management, LLC
                   5428 Teakwood Blvd.
                   Monroe, MI 48161


                   Stephanie Mellon-Reppen
                   c/o Steve J. Weiss, Esq.
                   Hertz Schram PC
                   1760 S. Telegraph Rd., Ste 300
                   Bloomfield Hills, MI 48302


                   Merge Healthcare
                   PO Box 205824
                   Dallas, TX 75320-5824


                   Merit Network Inc.
                   Dept #771746
                   PO Box 77000
                   Detroit, MI 48277



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                   Merz North American Inc.
                   PO Box 912073
                   Denver, CO 80291-2073


                   Metro Pizza Group Downtown LLC
                   Hungry Howie's #3606
                   30300 Stephenson Hwy #120
                   Madison Heights, MI 48071


                   Michigan Hearing Center, PLLC
                   d/b/a Michigan Ear Institute
                   30055 Northwestern Hwy.
                   Ste. 101
                   Farmington Hills, MI 48334


                   Michigan State Medical Society
                   120 W. Saginaw St.
                   East Lansing, MI 48823


                   MicroAire
                   Lock Box 96565
                   Chicago, IL 60693


                   Midtown Project, LLC
                   Attn: Gary Novara
                   2000 Town Center
                   Ste. 2370
                   Southfield, MI 48075


                   Millennium Surgical Corp
                   PO Box 775385
                   Chicago, IL 60677-5385


                   Edward Miller



                   Miller, Johnson, Snell & Cummskey PLC
                   PO Box 306
                   Grand Rapids, MI 49501-0306


                   Modern Optical International
                   585 Congress Circle North
                   Roselle, IL 60172-0360




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                   Modern Printing Services Inc.
                   8850 Dixie Hwy.
                   Fair Haven, MI 48023


                   Mohamad Khansa, MD PC
                   d/b/a Greenfield Medical Center Dearborn
                   4953 Schaefer
                   Dearborn, MI 48126


                   Mood Media
                   PO Box 71070
                   Charlotte, NC 28272-1070


                   Michelle Mopkins
                   c/o Brian J. McKeen, Esq.
                   McKeen & Associates PC
                   645 Griswold St., Ste 4200
                   Detroit, MI 48226


                   Nathan Vandjelovic, D.O.
                   c/o Jennifer Wright Greenman
                   Kitch Attorneys & Counselors
                   1 Woodward Ave., Ste 2400
                   Detroit, MI 48226


                   Navid Seraji-Bozorgzad, MD
                   c/o Jenna Wright Goodman
                   Kitch Attorneys & Counselors
                   One Woodward Ave., Ste 2400
                   Detroit, MI 48226


                   Nelco Supply Company Corp.
                   49751 Woodward Ave.
                   Pontiac, MI 48342


                   Neopost



                   NETalytics
                   PO Box 969
                   Greer, SC 29652


                   Newburgh Associates, LLC
                   5800 Belleville Rd.
                   Belleville, MI 48111


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                   Newburgh Associates, LLC
                   19030 Meginnity Ave.
                   Melvindale, MI 48122


                   Jalonne White Newsome



                   NextGen Healthcare Inc. (EMR Software)
                   PO Box 809390
                   Chicago, IL 60680


                   Curtis Norwick
                   c/o Brian McKeen, Esq.
                   McKeen & Associates, PC
                   645 Griswold St. Ste. 4200
                   Detroit, MI 48226-4210


                   NuPro Services, Inc.
                   23619 Pare Street
                   Saint Clair Shores, MI 48080


                   Nyesha Riley
                   c/o Robert P. Roth
                   19390 W. 10 Mile Rd.
                   Southfield, MI 48075


                   Oakwood Healthcare, Inc.
                   d/b/a Oakwood Healthcare System
                   18101 Oakwood Blvd
                   Dearborn, MI 48126


                   Oakwood Healthcare, Inc.
                   26935 Northwestern Hwy., 3d fl
                   Dept ID 750000
                   Southfield, MI 48033


                   Oakwood Healthcare, Inc.
                   18101 Oakwood Blvd.
                   Dearborn, MI 48124


                   Oakwood Hospital & Medical Center
                   c/o Bruce R. Shaw
                   Corbet Shaw Essad & Bonasso PLLC
                   30500 Van Dyke Ave, Ste 500
                   Warren, MI 48093


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                   Oasis Medical Inc.
                   514 Vermont Ave.
                   Glendora, CA 91741


                   Office Depot
                   PO Box 633301
                   Cincinnati, OH 45263-3301


                   Office Depot
                   PO Box 633204
                   Cincinnati, OH 45263-3204


                   Omar A Khan, MD
                   c/o Jenna Wright Greenman
                   Kitch Attorneys & Counselors
                   One Woodward Ave., Ste 2400
                   Detroit, MI 48226


                   Optum Insight Corp.
                   PO Box 84019
                   Chicago, IL 60689-4002


                   OR Specialties
                   203 Union Street
                   Milford, MI 48381


                   Origio
                   PO Box 712280
                   Cincinnati, OH 45271-2280


                   Panera Bread Company
                   Attn: Accounts Receivable
                   PO Box 504888
                   Saint Louis, MO 63150-4888


                   ParaGard Direct
                   12601 Collection Center Drive
                   Chicago, IL 60693


                   Patel Rupa
                   c/o Thomas R. Shimmel
                   Kitch Attorneys & Counselors
                   1 Woodward Ave., Ste 2400
                   Detroit, MI 48226



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                   Patrize Microscope, Inc.
                   PO Box 6001
                   Saint Clair Shores, MI 48080-6001


                   Patterson Dental
                   28244 Network Place
                   Chicago, IL 60673-1232


                   Jerry Pease



                   Peterson & Calunas, PLLC
                   363 W. Big Beaver Rd., Ste 215
                   Troy, MI 48084


                   Pharmacy Solutions
                   5204 Jackson Road, Suite C
                   Ann Arbor, MI 48103


                   Philip Lieu, M.D.
                   c/o Cullen Bryant McKinney
                   Tanoury Nauts McKinney & Garbarino PLLC
                   38777 6 Mile Rd., Ste 101
                   Livonia, MI 48152


                   Philips Medical Capital
                   PO Box 92449
                   Cleveland, OH 44193-0003


                   Phonak LLC
                   35555 Eagle Way
                   Chicago, IL 60678-1355


                   Cinnamon Pierce



                   Pitney Bowes Inc.
                   PO Box 371896
                   Pittsburgh, PA 15250-7896


                   John Pompey, Jr.




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                   Port Huron Eye Care Management LLC
                   4190 24th Ave., Suite 204
                   Fort Gratiot, MI 48059


                   Rachel Post
                   373 Eileen Dr.
                   Bloomfield Hills, MI 48302


                   Premier Business Products, Inc.
                   L-3772
                   Columbus, OH 43260-3772


                   Prolmage Facilities Services, Inc.
                   18838 Beech Daly
                   Redford, MI 48240


                   Purchase Power
                   PO Box 371874
                   Pittsburgh, PA 15250-7874


                   Queen Lillian, LLC
                   1442 Brush Street
                   Fourth Floor
                   Detroit, MI 48226


                   Quill Corporation
                   PO Box 37600
                   Philadelphia, PA 19101-0600


                   Quset Software, Inc.
                   4 Polaris Way
                   Aliso Viejo, CA 92656


                   RadOnc Questions LLC
                   5522 South Hyde Park Blvd.
                   Chicago, IL 60637


                   Regina Nagy, MD
                   c/o Maureen Adkins
                   Plunkett Cooney, PC
                   38505 Woodward Ave., Ste 100
                   Bloomfield Hills, MI 48304




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                   Rehabilitation Institute of Michigan
                   PO Box 845610
                   Dallas, TX 75284-5610


                   Rehabilitation Institute of Michigan
                   261 Mack Avenue
                   Detroit, MI 48201-2417


                   Rehabilitation Institute of Michigan
                   c/o VHS of Michigan MOB
                   Dept 4691
                   Carol Stream, IL 60122-4691


                   Reichert Technologies
                   PO Box 789202
                   Philadelphia, PA 19178


                   Patricia Reid
                   c/o Lynn M. Foley, Esq.
                   100 Orndorf Dr., Unit 669
                   Brighton, MI 48116


                   Ricoh USA Inc.
                   PO Box 802815
                   Chicago, IL 60680-2815


                   Rochester General Surgery PLC
                   75 Barclay Circle
                   Suite #200
                   Rochester, MI 48307


                   Linda Rotzoll



                   Melissa Rowe



                   LaAndre Rozier



                   RSM US LLP
                   One South Wacker Drive
                   Suite 800
                   Chicago, IL 60606


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                   Deborah Rubinstein



                   Safilo USA
                   PO Box 35118
                   Newark, NJ 07193-5118


                   Sequence Health LLC
                   Department #SF 78
                   PO Box 830525
                   Birmingham, AL 35283-0525


                   Sharman Wilson-Cammon
                   c/o Kenneth T. Watkins
                   Sommers Schwartz PC
                   1 Towne Sq., Ste 1700
                   Southfield, MI 48076


                   Patricia Shaw



                   Kaeleigh Sheehan
                   c/o Brian J. McKeen, Esq.
                   McKeen & Associates PC
                   645 Griswold St., Ste 4200
                   Detroit, MI 48226


                   Shih Jenny
                   c/o Karl Eric Hannum
                   Hannum Law Firm PC
                   201 W. Big Beaver Rd., Ste 1130
                   Troy, MI 48084


                   Shred-It USA - JV LLC
                   28883 Network Place
                   Chicago, IL 60673-1288


                   Marionna Sloan-Allen
                   c/o Jack Beam, Esq.
                   Beam Legal Team LLC
                   954 W. Washington Blvd., Ste 215
                   Chicago, IL 60607


                   Society of Critical Care Medicine
                   35083 Eagle Way
                   Chicago, IL 60678-1350

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                   Society of University Surgeons
                   11300 West Olympic Blvd.
                   Suite 600
                   Los Angeles, CA 90064


                   Southland Eye Clinic PC
                   Attn: John Belamaric
                   15055 Plaza South Drive
                   Taylor, MI 48180


                   Southland Eye Clinic PC
                   15055 Paza South Drive
                   Taylor, MI 48180


                   Staples Business Advantage
                   PO Box 660409
                   Dallas, TX 75266-0409


                   Starkey Laboratories Inc.
                   PO Box 9457
                   Minneapolis, MN 55440


                   Stathakis Inc.
                   24701 Halsted Rd.
                   Farmington, MI 48335


                   Stericycle Inc.
                   PO Box 6575
                   Carol Stream, IL 60197-6575


                   Stericycle Inc.
                   29338 Network Place
                   Chicago, IL 60673-1293


                   Steven Tennenberg, MD
                   c/o Jenna Wright Greenman
                   Kitch Attorneys & Counselors
                   One Woodward Ave., Ste 2400
                   Detroit, MI 48226


                   Betty Oden Stuart




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                   Sure-Fit Laundry Inc.
                   33121 Glenwood
                   Wayne, MI 48184


                   Syed Naweed Raza, MD
                   c/o Randall Juip
                   Foley Baron Metzger & Juip PLLC
                   38777 Six Mile Rd., Ste 300
                   Livonia, MI 48152


                   T-Mobile
                   PO Box 742596
                   Cincinnati, OH 45274-2596


                   Jeffrey Talley
                   c/o Gregory Wix, Esq.
                   Fieger Fieger Kenney & Harrington PC
                   19390 W 10 Mile Road
                   Southfield, MI 48075-2458


                   TelNet Worldwide Inc.
                   8020 Solutions Center
                   Chicago, IL 60677-8000


                   Tenet Health
                   PO Box 845610
                   Dallas, TX 75284


                   Tenet Health
                   1445 Ross Ave., Ste 1400
                   Dallas, TX 75202


                   Tenet Healthcare Corp.
                   c/o Cullen Bryant McKinney
                   Tanoury Nauts McKinney & Garbarino PLLC
                   38777 6 Mile Rd., Ste 101
                   Livonia, MI 48152


                   Tessin's Transcribing Services, Inc.
                   75362 Peters Drive
                   Romeo, MI 48065


                   The Office Supply Guys
                   30100 John R
                   Madison Heights, MI 48071


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                   Theracom
                   Payment Center
                   PO Box 640105
                   Cincinnati, OH 45264-0105


                   Theramatrix Physical Therapy
                   c/o Thomas R. Shimmel
                   Kitch Attorneys & Counselors
                   1 Woodward Ave., Ste 2400
                   Detroit, MI 48226


                   Patrick Thomason



                   Kimberly Thon



                   TIAA Commercia Finance Inc.
                   PO Box 911608
                   Denver, CO 80291-1608


                   ShaCal Tinsley
                   c/o Frank Mafrice, Esq.
                   Frank Mafrice & Associates PLLC
                   17000 W. 10 Mile Rd., Ste 100
                   Southfield, MI 48075


                   Topix Pharmeceuticals Inc.
                   PO Box 1899
                   West Babylon, NY 11704


                   Troy Medical Properties
                   181 West Madison Street
                   Ste 4700
                   Chicago, IL 60602


                   Eleanor Turner



                   Tyler Bio-Engineering LLC
                   PO Box 734
                   Hartland, MI 48353




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                   Unemployment Insurance Agency
                   PO Box 33598
                   Detroit, MI 48232-5598


                   Union Associates
                   6045 John C Lodge Expressway
                   Detroit, MI 48202


                   University Cleaners
                   4704 Cass
                   Detroit, MI 48201


                   University Health Center
                   c/o Jennifer Wright Greenman
                   Kitch Attorneys & Counselors
                   1 Woodward Ave., Ste 2400
                   Detroit, MI 48226


                   University Surgeons PC
                   c/o Jenna Wright Greenman
                   Kitch Attorneys & Counselors
                   One Woodward Ave., Ste 2400
                   Detroit, MI 48226


                   V.J. Maclin, LLC
                   19171 Woodston
                   Detroit, MI 48221


                   Venkatram Malini
                   c/o Maureen C. Adkins
                   Plunkett Cooney
                   38505 Woodward Ave., Ste 100
                   Bloomfield Hills, MI 48304


                   VHS Detroit Receiving Hospital, Inc.
                   PO Box 845610
                   Dallas, TX 75284-5610


                   VHS Detroit Receiving Hospital, Inc.
                   c/o Jennifer Wright Greenman
                   Kitch Attorneys & Counselors
                   1 Woodward Ave., Ste 2400
                   Detroit, MI 48226




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                   VHS Harper Hutzel Hospital, Inc.
                   3990 John R
                   Attn: President
                   Detroit, MI 48201


                   VHS Harper Hutzel Inc.
                   c/o Cullen Bryant McKinney
                   Tanoury Nauts McKinney & Garbarino PLLC
                   38777 6 Mile Rd., Ste 101
                   Livonia, MI 48152


                   VHS of MI MOB, Inc.
                   Dept 4691
                   Carol Stream, IL 60122-4691


                   VHS of Michigan
                   Department 4401
                   Carol Stream, IL 60122-4401


                   VHS of Michigan MOB
                   Dept. 4691
                   Carol Stream, IL 60122-4691


                   VHS of Michigan, Inc.
                   c/o Jennifer Wright Greenman
                   Kitch Attorneys & Counselors
                   1 Woodward Ave., Ste 2400
                   Detroit, MI 48226


                   VHS of Michigan, Inc.
                   c/o Cullen Bryant McKinney
                   Tanoury Nauts McKinney & Garbarino PLLC
                   38777 6 Mile Rd., Ste 101
                   Livonia, MI 48152


                   VHS Physicians of Michigan
                   c/o Cullen Bryant McKinney
                   Tanoury Nauts McKinney & Garbarino PLLC
                   38777 6 Mile Rd., Ste 101
                   Livonia, MI 48152


                   Vision Craft
                   PO Box 815519
                   Payment Processing Center
                   Dallas, TX 75381-5519



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                   Visionary Optics LLC
                   386 N. York Rd.
                   Suite 202
                   Elmhurst, IL 60126


                   Volk
                   7893 Enterprise Drive
                   Mentor, OH 44060


                   VVC Holding Corp. ??????
                   PO Box 840952
                   Dallas, TX 75284-0952


                   Wallaceburg Bookbinding & Mfg Co Ltd
                   PO Box 533
                   Marine City, MI 48039


                   Walton Crittenton MOB, LLC
                   c/o Kirco
                   101 W. Big Beaver Road
                   Suite 200
                   Troy, MI 48084


                   Walton Crittenton MOB, LLC
                   c/o Kirco
                   101 W. Big Beaver
                   Suite 200
                   Troy, MI 48084


                   Wayne State Surgical Society
                   4201 St. Antoine Street
                   Attn: Deborah Waring
                   Rm 2V Dept of Surgery
                   Detroit, MI 48201


                   Wayne State University
                   Reimbursement/Parking
                   540 E. Canfield Rm 1241
                   Detroit, MI 48201


                   Wayne State University- Rent
                   540 E. Canfield
                   Rm. 1241
                   Detroit, MI 48201




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                   Wazim Mohamed, MD
                   c/o Jenna Wright Greenman
                   Kitch Attorneys & Counselors
                   One Woodward Ave., Ste 2400
                   Detroit, MI 48226


                   Wellness Plan
                   c/o Karl Eric Hannum
                   Hannum Law Firm PC
                   201 W. Big Beaver Rd., Ste 1130
                   Troy, MI 48084


                   Wells Fargo Vendor Financial Services
                   PO Box 650016
                   Dallas, TX 75265-0016


                   Wendie Newman
                   American Healthcare Investors, Inc.
                   8902 North Meridien Street
                   Suite 220
                   Indianapolis, IN 46260


                   West Interactive Services Corporation
                   Department #1343
                   Denver, CO 80256-0001


                   Western Trauma Association
                   4655 Rockcress Ct.
                   Zionsville, IN 46077


                   Westshore Property Management



                   Gregory Whidby
                   c/o Brian J. McKeen, Esq.
                   McKeen and Associates PC
                   645 Griswold St., Ste 4200
                   Detroit, MI 48226


                   Wilson Ophthalmic
                   PO Box 676101
                   Dallas, TX 75267-6101


                   Brian Wilson-Cammon



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                   Wolters Kluwer
                   PO Box 1590
                   Hagerstown, MD 21741-1590


                   Yadagiri Karthik
                   c/o Thomas R. Shimmel
                   Kitch Attorneys & Counselors
                   1 Woodward Ave., Ste 2400
                   Detroit, MI 48226


                   Zedan Dental Laboratory Inc.
                   27908 Orchard Lake Road
                   Farmington, MI 48334


                   Hong Zhao
                   c/o Frank Mafrice, Esq.
                   Frank Mafrice & Associates PLLC
                   17000 W. 10 Mile Rd., Ste 100
                   Southfield, MI 48075




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